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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 MELANIE MOORE,

       Plaintiff,

 v.                                                  Case No: 8:20-cv-2184-T-35SPF

 POOCHES OF LARGO, INC. and
 LUIS MARQUEZ, Individually and as
 owner of Pooches of Largo, Inc.,

       Defendants.


                                       ORDER

       THIS CAUSE comes before the Court for consideration of Plaintiff’s Motion

 for Relief, (Dkt. 24), Plaintiff’s Motion for an Order and Hearing to Show Cause, (Dkt.

 27), and Defendants’ response in opposition thereto. (Dkt. 28) For the reasons that

 follow, Plaintiff’s Motion for Relief, (Dkt. 24), is GRANTED IN PART and

 DENIED IN PART and Plaintiff’s Motion for an Order and Hearing to Show Cause,

 (Dkt. 27), is DENIED.

       Plaintiff’s Motion for Relief requests an order requiring Defendants and counsel

 to participate in case management and discovery, or alternatively, an order for

 clarification of the issues or the need for Plaintiff to amend her Complaint to move

 forward with this case. (Dkt. 24) Specifically, Plaintiff contends that Defense counsel

 has been unwilling to participate in a case management conference for purposes of

 preparing the Case Management Report required by the Court’s Related Case Order

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 and Track Two Notice. (Dkt. 4) Plaintiff also requests that the Court direct Defendants

 to comply with the Court’s Interested Persons Order for Civil Cases. (Dkt. 5) The

 Court has issued an Order ruling on Defendants’ Motion to Dismiss which clarifies

 the issues that remain to be litigated in this matter. (Dkt. 29) The Court has also

 relieved the Parties of the requirement to file a Case Management Report and sua sponte

 issued an FLSA Scheduling Order governing discovery in this matter. (Id.; Dkt. 30)

 Accordingly, Plaintiff’s Motion for Relief, (Dkt. 24), is GRANTED IN PART and

 DENIED IN PART. The Motion is DENIED AS MOOT to the extent that Plaintiff

 requests that the Court direct Defendants to participate in preparation of the Case

 Management Report and to the extent she seeks clarification of the issues pending in

 this case in light of the Court’s July 28, 2021 Orders. (Dkts. 29, 30) The Motion is

 GRANTED to the extent that Plaintiff requests an Order directing compliance with

 the Court’s Interested Persons Order for Civil Cases. Defendants are directed to file

 and serve a Certificate of Interested Persons and Corporate Disclosure Statement

 within seven (7) days of the date of this Order.

       Plaintiff’s Motion for an Order and Hearing to Show Cause requests that the

 Court order the Defendants to show cause why they should not be held in contempt

 and sanctioned by entry of default for their failure to comply with the Court’s Related

 Case Order and Track Two Notice, to cooperate in good faith with discovery, and for

 making alleged misrepresentations to the Court. (Dkt. 27)




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       Rule 37 governs sanctions available for certain discovery violations. Fed. R.

 Civ. P. 37(b)–(d). The Eleventh Circuit has explained that although Rule 37 confers

 broad discretion to fashion appropriate sanctions for the violation of discovery orders,

 this discretion is not unbridled. United States v. Certain Real Prop. Located at Route

 1, Bryant, Ala., 126 F.3d 1314, 1317 (11th Cir. 1997). “The decision to dismiss a claim

 or enter default judgment ‘ought to be a last resort—ordered only if noncompliance

 with discovery orders is due to willful or bad faith disregard for those orders.’” Id.

 (quoting Cox v. American Cast Iron Pipe Co., 784 F.2d 1546, 1556 (11th Cir.1986)).

       As explained above, the Court has relieved the Parties of the requirement to file

 a Case Management Report and has sua sponte entered an FLSA Scheduling Order.

 Prior to entry of the FLSA Scheduling Order, no scheduling order governed discovery

 in this matter because the Parties had not filed a Case Management Report. Thus,

 sanctions for failure to file the Case Management Report or otherwise comply with

 discovery are not warranted. Moreover, to the extent that Plaintiff claims Defendants

 have misrepresented certain facts concerning her employment in their pleadings and

 other papers, these issues go to the merits of her claims and do not support her request

 for sanctions. Accordingly, Plaintiff’s Motion for an Order and Hearing to Show

 Cause, (Dkt. 27), is DENIED.

       DONE and ORDERED in Tampa, Florida, this 30th day of July 2021.




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 Counsel of Record
 Any pro se party




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